                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION

    EDWARD BUTOWSKY,                                   §
                                                       §
                   Plaintiff,                          §
                                                       §
    v.                                                 §   CASE NO. 4:19-CV-00180-ALM-KPJ
                                                       §
    MICHAEL GOTTLIEB, et al.,                          §
                                                       §
                   Defendants.

                                                ORDER

           Pending before the Court is Defendants Michael Gottlieb, Meryl Governski, and Boies

    Schiller Flexner LLP’s (the “BSF Defendants”) Notice of Supplemental Authority (the “Notice”)

    (Dkt. 203).

           IT IS HEREBY ORDERED that counsel for Plaintiff Edward Butowsky and the BSF

    Defendants shall appear telephonically on Tuesday, March 10, 2020, at 2:00 p.m., to discuss the

.   Notice. The Court provides participants with the teleconference call-in information as follows:

           ATT Toll-Free Conference Number: 1-877-336-1839

           Access Code: 3465831, followed by #.

           Participants are directed to call this number no later than 1:55 p.m.
           So ORDERED and SIGNED this 6th day of March, 2020.




                                                 ____________________________________
                                                 KIMBERLY C. PRIEST JOHNSON
                                                 UNITED STATES MAGISTRATE JUDGE
